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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:19-cv-02005 - ____ - ____

  SRS ACQUIOM, INC., a Delaware corporation,
  SHAREHOLDER REPRESENTATIVE SERVICES, LLC, a Colorado limited liability company,

         Plaintiffs,

  v.

  PNC FINANCIAL SERVICES GROUP, INC., a Pennsylvania Corporation,
  PNC BANK, N.A., a Pennsylvania Corporation,
  HEATHER KELLY, an individual, and
  ALEX TSARNAS, an individual.

         Defendants.


            NOTICE OF ENTRY OF APPEARANCE OF MATTHEW C. MILLER


         Matthew C. Miller of the law firm Sheridan Ross P.C. hereby enters his appearance on

  behalf of Plaintiffs SRS Acquiom, Inc. and Shareholder Representative Services, LLC,

  (collectively, "SRSA") in the above referenced matter. The undersigned requests that all papers in

  this matter be served upon him at the e-mail address set forth below.

                                                 Respectfully submitted,

  Dated July 11, 2019                            By: s/ Matthew C. Miller
                                                     Matthew C. Miller
                                                              mmiller@sheridanross.com
                                                     SHERIDAN ROSS P.C.
                                                     1560 Broadway, Suite 1200
                                                     Denver, Colorado 80202
                                                     Telephone:    303-863-9700
                                                     Facsimile:    303-863-0223
                                                     Email:        litigation@sheridanross.com

                                                 ATTORNEYS FOR PLAINTIFFS
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 11, 2019, I electronically filed the foregoing with the Clerk of

  the Court using CM/ECF system which will send notification of such filing to all counsel of record.




                                                Respectfully submitted,

                                                 By: s/ Tricia M. Hoy
                                                     Tricia M. Hoy
                                                     Paralegal to Scott R. Bialecki
                                                     SHERIDAN ROSS P.C.
                                                     1560 Broadway, Suite 1200
                                                     Denver, CO 80202-5141
                                                     Telephone: (303) 863-9700
                                                     Facsimile: (303) 863-0223
                                                     E-mail:      thoy@sheridanross.com
                                                                  litigation@sheridanross.com




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